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 5
      Counsel for Defendant MICHAEL DOWNEY
 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                      )       No. CR-05 00651 CW [WDB]
                                                     )
12                          Plaintiff,               )       STIPULATION AND [PROPOSED]
                                                     )       ORDER MODIFYING RELEASE
13    vs.                                            )       CONDITIONS
                                                     )
14    MICHAEL DOWNEY, et al.,                        )
                                                     )
15                                                   )
                        Defendants.                  )
16    _____________________________________

17
             Michael Downey recently learned that his mother died. By prior stipulation and order of
18
      this Court, Mr. Downey was permitted to leave the New Bridge facility to spend time with his
19
      mother and family during this critical period. He did so, and returned to New Bridge without
20
      incident.
21
             Mr. Downey’s father, who has suffered a stroke, is not physically capable of managing
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      family matters by himself. Mr. Downey therefore requests that he be permitted to leave New
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      Bridge. Mr. Downey has been enrolled at New Bridge since the date of his release from custody,
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      has participated fully in its programs, and has otherwise complied with all conditions of his
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      release. Mr. Downey nonetheless wishes to avail himself of New Bridge’s aftercare services on a
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      STIP/ORD                                           1
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 1    weekly basis. New Bridge staff concurs that Mr. Downey’s progress supports his request.

 2           It is therefore STIPULATED AND AGREED that Mr. Downey may leave New Bridge,

 3    and establish residence in Antioch, California, subject to continued supervision by U.S. Pretrial

 4    Services.

 5                                                   /S/
      Dated: June 21, 2006                         ____________________________
 6                                                 KIRSTIN AULT
                                                   Assistant United States Attorney
 7

 8
                                                     /S/
 9    Dated: June 20, 2006                         ____________________________
                                                   JEROME E. MATTHEWS
10                                                 Assistant Federal Public Defender

11                                                    /S/

12    Dated: June 21, 2006                         _____________________________
                                                   VICTORIA GIBSON
13                                                 U.S. Pretrial Services Officer

14
      I hereby attest that I have on file all holograph signatures for any signatures indicated by a
15
      “conformed” signature (/S/) within this e-filed document.
16

17
             Good cause appearing therefor, IT IS ORDERED that Michael Downey may leave New
18
      Bridge as provided in the foregoing stipulation. Mr. Downey shall continue to be subject to
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      supervision by Pretrial Services, and shall abide by such conditions as Pretrial Services deems
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                                                                   S DISTRICT
      appropriate.                                              ATE           C
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                                                                           ORDER
                                                     UNIT




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22                                                            IT IS S
                  26 2006
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      Dated: June ___,                             ______________________________
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23                                                 United States      am Alsu
                                                                 Magistrate     Judge
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      STIP/ORD                                         2
